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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                     Plaintiff,                                   8:11CR401

      vs.
                                                                    ORDER
AGAPITO AGUILAR-SOSTENES,

                     Defendant.


       THIS MATTER is before the Court on the joint oral motion of the parties to

continue the hearing scheduled for October 29, 2012 at 1:00 p.m. regarding the

defendant’s competency. The parties request that the defendant remain at FCI-Butner

for an additional 120 days for further study and treatment of the defendant.

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. 4241(d), that the joint oral

motion to continue is granted and the defendant is committed to the custody of the

Attorney General to continue the hospitalization of the defendant for treatment at FCI-

Butner for an additional 120 days, as is necessary to determine whether there is a

substantial probability that in the foreseeable future he will attain the capacity to permit

the proceedings to go forward. A competency hearing is scheduled for March 1, 2013

at 9:00 a.m. in Courtroom 3, Roman L. Hruska Federal Courthouse, 111 South 18th

Plaza, Omaha, Nebraska, before District Judge Joseph F. Bataillon.

       Dated this 1st day of November, 2012.

                                                   BY THE COURT:
                                                   s/ Joseph F. Bataillon
                                                   United States District Judge
